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            UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF WASHINGTON STATE




                                    )
                                    )
MYRIAM ZAYAS                        )
                         PLAINTIFF, )
                                    )
                                                          2:21-cv-00746 JLR
                                    )            case   _______________
                                    )
               VS.                  )   Injunctive Relief- 42 U.S. Code § 1983
                                    )   Deprivation of rights under the color of law-
                                    )   42 U.S. Code § 1985 Conspiracy against
                                    )   rights- 42 U.S. Code § 1986 Action for
LINDA NGUYEN,
                                    )   neglect to prevent- First Amendment Right
TARA SHOEMAKER,                     )   to Familial Association- Intimate
BREN SMITH,                         )   Association Retaliation Claim- Fourteenth
                                    )   Amendment Equal Protection Clause-
                                    )   Fourth Amendment Illegal Search &
                                    )   Seizure- Interference with Parent Child
                                    )   Relationship - Intentional Infliction of
                                    )   Emotional Distress- Official Misconduct-
                                    )
                                    )
                                    )
                       DEFENDANTS, )




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                         I.    JURISDICTION AND VENUE
1. This Court has jurisdiction over federal civil rights claims, under 28 U.S.C. § 1343.
   This Court has supplemental jurisdiction over state-law claims arising from the
   same factual circumstances, events, and transactions, under 28 U.S.C. § 1367(a). 42
   U.S. Code § 1983. This court has jurisdiction under 28 U.S.C. §1331,§ 1349, and §
   1332.
2. Venue is proper in this Court under 28 U.S.C. § 1391(b) because the Defendant’s
   employer King County Government principal place of business is in Kent,
   Washington. Seattle Western District Court is the proper venue for this case. The
   Defendants upon further information and belief also reside in King County.
3. The Plaintiff has filed a tort with the states attorney general. Not asking for money
   damages.
4. No trial needed; job loss required. All discovery included.




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                                     II.   PARTIES
5. Myriam Zayas an individual (hereinafter “Plaintiff”) is a resident of the State of
   Washington and the County of King. She is the mother of 3 adults 21,19,18, and one
   adopted 1 year old, and one 6-year-old.
6. Defendant Tara Shoemaker an individual            (hereinafter “clerk” “state official”
   “Tara”), at all times relevant hereto was the Plaintiffs court clerk employed by the
   Maleng Regional Justice Center in Kent, Washington. Upon further information
   and belief, she resides in King County Washington. She is sued for injunctive relief
   in her individual capacity within the meaning of 42 U.S.C. Section 1983, and at all
   times relevant hereto acted under color of state law.
7. Defendant Linda Nguyen an individual (hereinafter “bailiff” “state official” “judge
   Messitts bailiff”), at all times relevant hereto is the bailiff for the Plaintiffs former
   judge Messitt in her current open state dependency case. She is employed by the
   Maleng Regional Justice Center in Kent, Washington. Upon further information
   and belief, she resides in King County Washington. She is sued for injunctive relief
   in her individual capacity within the meaning of 42 U.S.C. Section 1983, and at all
   times relevant hereto acted under color of state law.
8. Defendant Bren Smith an individual (hereinafter “bailiff” “state official” “judge
   Ramseyer’s bailiff”), at all times relevant hereto is the bailiff for the Plaintiffs judge
   in her current open state dependency case. She is employed by the Maleng
   Regional Justice Center in Kent, Washington. Upon further information and belief,
   she resides in King County Washington. She is sued for injunctive relief in her
   individual capacity within the meaning of 42 U.S.C. Section 1983, and at all times
   relevant hereto acted under color of state law.




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                                   III.   INTRODUCTION
      The Plaintiff is bringing this claim for injunctive relief, job loss is a must and the
crimes committed by the Defendants can not be ignored, Official Misconduct under
RCW means the official commits an unauthorized act in their official position. Filing
unsigned, unagreed, and forged court orders to the official docket, when they know
these orders are invalid, fraudulent, and unlawful can be considered far more than
unauthorized acts. Participating in fake hearings that are not recorded at the time of
the hearing, pretending, and tricking the public they serve, into thinking they are
actually in court. When in fact no hearing exists on the docket at all. Then later
creating fake audio, trying to cover their crimes. There are likely tons of forged court
orders on the official docket at the Regional Justice Center in Kent, Washington. The
Defendants have filed these as true and correct. Especially beginning in March 2020
when the record was inaccessible due to COVID, the Defendants continued holding
hearings that were not mission critical, going against emergency order 61. If its just a
piece of paper and its no big deal, these officials think what they are doing is not a
felony, then how come the Plaintiffs child is still in a foster home? Howcome they are
all so scared of their crimes that they think retaliating against a 5-year-old will help?
Why aren’t all of these people in jail for their crimes? The Defendants thoughts that
the Plaintiff is suing for her kid back are expired, the last person the public needs
working with real child predators is a corrupt state official. These people do not hand
out parking tickets, no they are assigned to protect children, when they are found to
be instead abusing children by traumatizing them for no reason, this should be of
high public concern. Links connect directly to document mentioned above them.
Related case: 20-cv-00747 JCC. Zayas vs. Messitt. This court was made for the
Plaintiff and it is her 1st amendment right to hold all state officials accountable for
their crimes, and redress her government. If she states facts, and relevant law, no
matter how many times she must sue.




1
    https://1drv.ms/b/s!AmhsgRs52qWXqUAWeJvhTVTZ8Vx_

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                                             IV.      FACTS
NOW COMES the Plaintiff, MYRIAM ZAYAS by and through herself and for her complaint
under Section 1983, for the counts described below, including a procedural and substantive
due process violation against the Plaintiff by the Defendant and those they acquiesced,
instructed, directed, accepted direction from, trained, retaliated with, plotted and conspired
with in committing the unauthorized, unconstitutional, and unlawful acts and omissions
described in this complaint, Plaintiff alleges the following facts:

9. The Plaintiffs 5-year-old child who is now 7 was removed from the Plaintiffs care
    for a dirty UA March 16th, 2020, in the removal process 15 state officials committed
    the crime of forgery, no oath or affirmation was given either, and they violated
    emergency order #6, the Plaintiff caught them.
10. Tara Shoemaker and Linda Nguyen violated Emergency Order 6, RCW 43.06.2202.
    By filing court orders that were forged and missing the required signatures during
    the pandemic. This emergency order was put in place to make sure that state
    officials did not violate the rights of parents, yet the Defendants all of them
    ignored this emergency order.
    https://1drv.ms/b/s!AmhsgRs52qWXqUYZQsEHC-y7bGP3?e=wmbdU8
11. On or about March 16th, 2020, Tara Shoemaker did file the removal order for the
    Plaintiffs child. This removal order was missing the required “FILED” stamp of the
    courts on each top page, the order also was missing the required AAG approval
    signature. The judges signature was not a hash, so there must have been oath or
    affirmation given another way, yet no proof can be found on the official docket in
    the case of the Plaintiffs child. (20-7-00666-0 KNT) Top pages should have a FILED
    stamp from RJC. Page 17 is missing the supervisor and AAG approval signature.
    Redacted in white to include relevant top pages only:
    https://1drv.ms/b/s!AmhsgRs52qWXqWv68HlFreZdzhKm?e=SEESx4
12. Tara Shoemaker filed the unsigned and forged SCHO and the Healthcare
    Authorization form on the 18th of March 2020. This order did not contain any
    signatures at all except for one, that signature was the forged signature of Ann
    Danieli. See number 16.

2
 State of emergency—Powers of governor pursuant to proclamation. (5) Any person willfully violating any
provision of an order issued by the governor under this Section is guilty of a gross misdemeanor

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13. On or about August 8th, 2020, Tara Shoemaker together with Linda Nguyen created
      a document named “Minutes.” This was 5 months after the Plaintiffs child was
      removed:
      https://1drv.ms/b/s!AmhsgRs52qWXqWTjUu2XIaQUGYFB?e=kHe4LE
14. Linda Nguyen filed all of the Plaintiffs emails to the official docket in her attempt to
      make the Plaintiff look crazy, but if Messitt was not the judge at the hearing then
      why would it matter what she said to Messitt?
      https://1drv.ms/b/s!AmhsgRs52qWXoDNl_SKZCl4LCswI
      https://1drv.ms/b/s!AmhsgRs52qWXnVXonmi2C1zD9Zsy
15. Tara Shoemaker has a rule that she requires all court officials to follow and does
      not follow this rule herself in the Plaintiff’s case. If she did follow this rule with all
      court officials then the Plaintiffs child may not have been withheld to date lacking
      valid warrants, of course another clerk would have filed it anyway, proving a corrupt
      practice of following custom policy on the part of King County.
      https://1drv.ms/u/s!AmhsgRs52qWXqWUijqCcJYzWi2M_
16. The Defendants, each of them, did not at any point report this crime of forgery to
      the authorities, nor did they attempt to remove themselves from the equation, likely
      relying on their immunity to save them from all intentional acts they committed.
      Under LGR 303 the court rules state that parties are not permitted to filing unsigned
      orders. SCHO4 Page 10 of 11. By relying on this immunity, the Defendants are said
      to be abusing their authority and acting under the color of state law. Also, the clerk
      is allowing them to default to the father with no father named, how can it default if
      they have no clue who her father is or what he defaults to? They should not be
      permitted to default to unknown.
      https://1drv.ms/b/s!AmhsgRs52qWXqWwXYozv1oF_VQ3P?e=VSXCWj
17. All dependency orders that are filed on the official docket are normally agreed
      orders of dependency. Bren Smith continues to file and uphold dependency orders




3
    https://kingcounty.gov/courts/clerk/rules/LGR_30.aspx
4
    Shelter Care Hearing Order

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   in the Plaintiffs case that the Plaintiff has never agreed to and never signed anything
   they presented.
       RCW 13.34.110 (3)(a) The parent, guardian, or legal custodian of the child may
      waive his or her right to a fact-finding hearing by stipulating or agreeing to the
      entry of an order of dependency establishing that the child is dependent within
      the meaning of RCW 13.34.030. The parent, guardian, or legal custodian may
      also stipulate or agree to an order of disposition pursuant to RCW 13.34.130 at
      the same time. Any stipulated or agreed order of dependency or disposition
      must be signed by the parent, guardian, or legal custodian and his or her
      attorney, unless the parent, guardian, or legal custodian has waived his or her
      right to an attorney in open court, and by the petitioner and the attorney,
      guardian ad litem, or court-appointed special advocate for the child, if any. If the
      department is not the petitioner and is required by the order to supervise the
      placement of the child or provide services to any party, the department must also
      agree to and sign the order.
   https://1drv.ms/b/s!AmhsgRs52qWXqWlgynFcH3pKXT3Q?e=aHVLMS

   The court officials should not be allowed to let the AAG default every order to the
   unknown father, how do they know what the unknown wants? The Plaintiff is her
   only parent and trying to go around her to default to anyone is unlawful. This is in
   their attempt to file and uphold orders that no parent has agreed to.

18. In most recent dependency order from May 2021, the AAG removed the Plaintiffs
   signature line when she complained about them filing unsigned orders. The
   Defendants see all of this, they see the forgery, the missing hearings and still
   agree to assist their boss in continuing their felonies. The Plaintiff never agreed to
   complete services she already completed last year, never signed any order at all
   making their continued possession of her child unlawful lacking the Plaintiffs
   signature after now more than 15 months in a foster home.
   https://1drv.ms/b/s!AmhsgRs52qWXqWjmZoOutJrWUR30?e=8Z3ShO
19. Bren Smith is also very aware that the Plaintiff has no attorney and the judge Bren
   works for refuses to assign her one. The Plaintiff continues to file motions but is
   doing them incorrectly and Bren always reminds the Plaintiff of the court rules
   when filing motions yet refuses to follow these rules herself as a bailiff. The
   Plaintiff has a right to an attorney and this judge will not assign her one, the
   Plaintiff has contacted the free legal help and they refuse to help. Bren Smith and

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    her boss are aware of these facts and continue to chastise and ignore the Plaintiff.
    This is because they both hope the Plaintiff submits to their demands of
    completing “services.” If the Plaintiff does then their friend the judge who
    committed forgery will likely get away with it by saying the Plaintiff needed their
    intervention, when in fact their intervention is criminal, its kidnapping, and
    unwarranted governmental intrusion into the Plaintiffs life.
20. The Defendants, each of them, did commit a number of unauthorized acts in their
    official position and therefore have committed the crime of Official Misconduct
    RCW 9A.80.0105 along with forgery RCW 9A.60.0206 and many others. Their
    crimes further the Plaintiffs removal of her child and severed the bond she once
    had with her 5 now 7-year-old child. This means they have violated the Plaintiffs
    civil rights and intentionally to try and cover for their employer/boss Judge
    Messitt.
21. The Plaintiff is reduced to only seeing her child for 4 hours per week and barely
    that since the social workers who are being sued are actively retaliating and
    commonly cancel 2 weeks of court ordered visitation each month for reasons that
    they can never confirm.
22. On or about 06.09.20, Linda Nguyen sent an email to all attorneys on the docket
    that morning stating that they should not call in yet because they were taking
    default testimony for the Shelter Care Hearing. From being her own attorney, the
    Plaintiff knows that attorneys are not normally barred from being present when
    other parties hearings are happening. Unless of course it’s a hearing that requires
    special attention, upon further information and belief on this day Linda Nguyen
    and Tara Shoemaker participated in the making of the fake audio, which was


5
  Official misconduct.(1) A public servant is guilty of official misconduct if, with intent to obtain a benefit or to
deprive another person of a lawful right or privilege:(a) He or she intentionally commits an unauthorized act under
color of law; or(b) He or she intentionally refrains from performing a duty imposed upon him or her by law.(2)
Official misconduct is a gross misdemeanor.
6
  Forgery.(1) A person is guilty of forgery if, with intent to injure or defraud:(a) He or she falsely makes, completes,
or alters a written instrument or;(b) He or she possesses, utters, offers, disposes of, or puts off as true a written
instrument which he or she knows to be forged.(2) In a proceeding under this section that is related to an identity
theft under RCW 9.35.020, the crime will be considered to have been committed in any locality where the person
whose means of identification or financial information was appropriated resides, or in which any part of the offense
took place, regardless of whether the defendant was ever actually in that locality.(3) Forgery is a class C felony.

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   added months later, containing Ann Danieli and not Judge Messitt as the judge
   for the Plaintiffs SCH. In their effort to cover the crime of forgery committed by
   Judge Messitt, and the social worker.
   https://1drv.ms/b/s!AmhsgRs52qWXqTVGsPGN35BxlSUl
   Link to FTR files from fake hearing:
   https://1drv.ms/u/s!AmhsgRs52qWXoBrvHRGM2MB4suai?e=6fNbeg
23. The following document shows the similarities between the social workers
   handwriting and the forged signature of Danieli:
   https://1drv.ms/b/s!AmhsgRs52qWXqWZ57Nw2ZC_l8ZBn
24. The Defendants, each of them see the docket in the Plaintiffs case and know that
   no hearing exists on the docket within 72 hours as required by law:
   WAC XXX-XX-XXXX (3) Whenever CPS assumes custody of a child from law
   enforcement, and places the child in out of home care, a court hearing must be
   held within seventy-two hours from the time the child is taken into protective
   custody, excluding Saturdays, Sundays and holidays.

22. Page 5 of 7 in the docket list linked below, shows that Tara Shoemaker added the
   “Minutes” for the SCH 5 months later in August 2020. This can only mean the
   SCH never happened within 72 hours.
   https://1drv.ms/b/s!AmhsgRs52qWXnV3e6U8FpH1PPfXl
23. The African American social workers in the Plaintiffs case hate the Plaintiff for
   having black children, and have been harassing her for years lying all the time in
   every single document they create. This document states the reason for removal
   which is a lie because the Plaintiff was clean on the 16th of March 2020. They were
   made aware of this clean drug screen and still took her child.
   https://1drv.ms/b/s!AmhsgRs52qWXqT46EAkOJm9QJwjJ
   Same story in 2014 all lies:
   https://1drv.ms/b/s!AmhsgRs52qWXqWozWZi-iKLStGHV?e=Vl4ijb
24. The Defendants, each of them and their felonious boss, the Superior court judges
   that commit forgery, do not believe the Plaintiff. Even after she shows them
   documented proof the social workers favor by race.



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25. Tara Shoemaker committed these unlawful acts with evil intent. She was
   deliberately indifferent to the federally protected rights of the Plaintiff and her
   child. Tara Shoemaker being a reasonable state official, reasonably should have
   known that committing the crime of forgery to keep the Plaintiffs child away from
   her violates her first and fourteenth amendment rights to familial association, her
   actions have caused, and will continue to cause great emotional distress to the
   Plaintiff and her child.
26. Linda Nguyen committed these unlawful acts with evil intent. She was deliberately
   indifferent to the federally protected rights of the Plaintiff and her child. Linda
   Nguyen being a reasonable state official, reasonably should have known that
   committing the crime of forgery to keep the Plaintiffs child away from her violates
   her first and fourteenth amendment rights to familial association, her actions have
   caused, and will continue to cause great emotional distress to the Plaintiff and her
   child.
27. Bren Smith committed these unlawful acts with evil intent. She was deliberately
   indifferent to the federally protected rights of the Plaintiff and her child. Bren
   Smith being a reasonable state official, reasonably should have known that
   committing the crime of forgery to keep the Plaintiffs child away from her violates
   her first and fourteenth amendment rights to familial association, her actions have
   caused, and will continue to cause great emotional distress to the Plaintiff and her
   child.
28. After the Plaintiff proved the teacher committed perjury during the Plaintiffs trial,
   Bren Smith continued without making remedial efforts to address the problem.
   Refused to even acknowledge the obvious felony committed. It is not the
   Defendants job to stop felonies in progress but it is their job not to actively
   participate in them and assist in their furtherance. In doing so they have neglected
   to prevent the Plaintiffs rights from being violated.




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V.     FIRST CLAIM FOR RELIEF- INTENTIONAL INFLICTION OF EMOTIONAL
                        DISTRESS – 42 U.S.C. § 1983

25. Plaintiff re-alleges and re-pleads all of the allegations in paragraphs 1–24 of this
   Complaint and incorporate them by reference.
26. The Defendants perform the public functions of serving as court officials, and
   serving children who are dependents of the courts of the State of Washington.
27. The Defendants perform these public functions using federal, state, and county
   funds, also from federal grants. The social workers are also employed by the US
   government.
28. All of the Defendants each of them by committing crimes in order to violate the
   Plaintiffs rights they lose the immunity granted in them through the state’s
   authority. The Defendants committed a misuse of power, possessed by virtue of
   state law, and made possible only because the wrongdoer was clothed in the
   authority of state law. The Defendants knew, or reasonably should have known that
   their actions would cause emotional distress to the Plaintiff and her children, at all
   times relevant to this complaint and to the adjoining complaints referred to in this
   complaint filed by the Plaintiff.
29. The Plaintiff and her child have suffered from emotional distress and will continue
   to in the foreseeable future. This suffering was a direct and proximate result of the
   Defendants actions in concert with the state officials each of them, continued and
   ongoing conspiracy to deprive the Plaintiff and her child of their federally protected
   rights. The Defendants have themselves committed crimes in conjunction with,
   and/or assisted the state officials in violating the Plaintiffs first, fourth and
   fourteenth amendment rights, her right to due process and equal protection under
   the law.




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                               VI.
                         SECOND CLAIM FOR RELIEF-
          FIRST AMENDMENT RIGHT TO FAMILIAL ASSOCIATION7 INTIMATE
               ASSOCIATION RETALIATION CLAIM- 42 U.S.C. § 1983

30. Plaintiff re-alleges and re-pleads all of the allegations in paragraphs 1–29 of this
    Complaint and incorporate them by reference.
31. The Defendants perform the public functions of serving as court officials, and
    serving children who are dependents of the courts of the State of Washington.
32. The Defendants perform these public functions using federal, state, and county
    funds, also from federal grants. The social workers are also employed by the US
    government.
33. Where government action substantially interferes with fundamental rights, such as
    the right to family relationships, it is subject to strict scrutiny, which means that the
    government must have a compelling reason for its action and its means to achieve
    its goal must be as narrowly tailored as possible.8
34. The Plaintiff has a cause of action for violation of her constitutional federally
    protected rights to familial association under the first and fourteenth amendments.
    The Plaintiff was restrained in her liberty and property interest.
35. The First Amendment prohibits the Defendants from intruding into a familial
    relationship as retaliation for one family member's exercise of free speech rights.
    The relationship at issue is very close, it is the one between the Plaintiff and her 5-
    year-old child. Because of the following actions taken by the Plaintiff the
    Defendants continue to severe the bond between her and her child in punishment
    for opening her mouth.
36. (1) The Plaintiff engaged in protected speech, (2) the Defendant's retaliatory
    conduct adversely affected that speech and (3) a causal link exists between the
    conduct and the adverse effect.


7
  Congress shall make no law respecting an establishment of religion or prohibiting the free exercise thereof; or
abridging the freedom of speech, or of the press; or the right of the people peaceably to assemble, and to petition the
Government for a redress of grievances.
8
  Behm v. LUZERNE CTY CHILDREN & YOUTH POLICY MAKERS, 172 F. Supp. 2d 575 - Dist. Court, MD
Pennsylvania 2001

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37. The Plaintiff has a cause of action for violation of her constitutional federally
    protected rights to intimate association and against retaliation from state actors
    under the Civil Rights Act, 42 U.S.C. § 1983. The Plaintiff was restrained in her
    liberty and property interest by the Defendants actions.
      VII.        THIRD CLAIM FOR RELIEF- FOURTH AMENDMENT RIGHTS
                    ILLEGAL SEARCH & SEIZURE9 42 U.S.C. § 1983

38. Plaintiff re-alleges and re-pleads all of the allegations in paragraphs 1–37 of this
    Complaint and incorporate them by reference.
39. The Defendants perform the public functions of serving as court officials, and
    serving children who are dependents of the courts of the State of Washington.
40. The Defendants perform these public functions using federal, state, and county
    funds, also from federal grants.
41. The Plaintiff does not feel secure in her property when high court officials commit
    felonies to keep her child away from her. The Defendants engaged in a widespread
    unwritten custom/ policy with Child Protective Services of removing children
    lacking probable cause, using felony forgery , and during emergency order 6 which
    required only “mission critical” removals.
42. The Plaintiff has a cause of action for violation of her constitutional federally
    protected rights to remain free from illegal search & seizure under the fourth
    Amendment. The Plaintiff was restrained in her liberty and property interest by the
    Defendants actions.




9
 The right of the people to be secure in their persons, houses, papers, and effects, against unreasonable searches and
seizures, shall not be violated, and no warrants shall issue, but upon probable cause, supported by oath or
affirmation, and particularly describing the place to be searched, and the persons or things to be seized.

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                 VIII. FOURTH CLAIM FOR RELIEF
     FOURTEENTH AMENDMENT EQUAL PROTECTION – 42 U.S.C. § 198310

43. Plaintiff re-alleges and re-pleads all of the allegations in paragraphs 1–42 of this
     Complaint and incorporate them by reference.
44. The Defendants perform the public functions of serving as court officials, and
     serving children who are dependents of the courts of the State of Washington.
45. The Defendants perform these public functions receiving federal, state, and county
     funds, also from federal grants.
46. The Defendants are closely integrated and entwined with the state and county
     government system that places children with foster and adoptive parents, and that
     provides placement, care and services to children who are dependents of the
     juvenile court.
47. The Defendants discriminated against Plaintiff by denying her and her child fair
     and equal treatment in the actions they performed, as well as assisting the social
     workers in carrying out their duties. Their actions were deliberate and intentional.
     The Defendants are granted the authority of state law and they delivered different
     pains and punishments to the Plaintiff and her child that were unfair and unequal11.
48. By treating the Plaintiff differently than other parents and also serving different
     pains and punishments on account of the Plaintiff being a witness, and victim of a
     crime they committed, Tara Shoemaker and all the Defendants are violating the
     Plaintiff and her children’s fourteenth amendment rights to be treated equally
     under the law. The Defendants each of them are granted the authority of state law
     and this provides them immunity.



10
   No State shall make or enforce any law which shall abridge the privileges or immunities of citizens of the United
States; nor shall any State deprive any person of life, liberty, or property, without due process of law; nor deny to
any person within its jurisdiction the equal protection of the laws.
11
   The familial right of association is based on the “concept of liberty in the Fourteenth Amendment.” see Kraft v.
Jacka, 872 F. The Fourteenth Amendment protects United States citizens against violation of fundamental rights by
state actors. Fundamental rights are liberty interests deeply rooted in the nation's history and tradition, and implicit
in the concept of ordered liberty and the rule of law.

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49. The Defendants are not permitted to discriminating against the Plaintiff for any
     reason when granted this authority by the state. By assisting the social workers in
     their discriminatory acts and completely ignoring the evidence and proof provided
     by the Plaintiff they are just as guilty of discrimination. Because the Plaintiff was a
     witness to their crime she gets treated differently and her child has to suffer
     because of what her mother knows.
50. The Plaintiff has a cause of action for violation of her constitutional federally
     protected rights to equal protection under the Equal Protection Clause, and Civil
     Rights Act, 42 U.S.C. § 1983. The Plaintiff was restrained in her liberty and property
     by the Defendants actions, each of them.
      IX.       FIFTH CLAIM FOR RELIEF - TITLE 18, U.S.C., SECTION 242 -
                   DEPRIVATION OF RIGHTS UNDER COLOR OF LAW.12

51. Plaintiff re-alleges and re-pleads all of the allegations in paragraphs 1–51 of this
     Complaint and incorporate them by reference.
52. The Defendants perform the public functions of serving as court officials, and
     serving children who are dependents of the courts of the State of Washington.
53. The Defendants performs these public functions using federal, state, and county
     funds, also from federal grants.
54. Section 242 acts under "color of law" include acts not only done by federal, state,
     or local officials within their lawful authority, but also acts done beyond the
     bounds of the Defendant's lawful authority if the acts are done while the
     Defendant is purporting to or pretending to act in the performance of his/her
     official duties. Persons acting under color of law within the meaning of this
     statute include police officers, prisons guards and other law enforcement
     officials, as well as judges, care providers in public health facilities, and others
     who are acting as public officials. It is not necessary that the crime be motivated




12
  This statute makes it a crime for any person acting under color of law, statute, ordinance, regulation, or custom to
willfully deprive or cause to be deprived from any person those rights, privileges, or immunities secured or protected
by the Constitution and laws of the U.S.

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       by animus toward the race, color, religion, sex, handicap, familial status, or
       national origin of the victim.13
55. The Defendants under color of any law, statute, ordinance, regulation, or custom,
       willfully subject the Plaintiff and her child in Washington state, to the deprivation
       of any rights, privileges, or immunities secured or protected by the Constitution or
       laws of the United States, shall be fined under this title or imprisoned not more
       than one year, or both; and if bodily injury results from the acts committed in
       violation of this section or if such acts include the use, attempted use, or
       threatened use of a dangerous weapon, explosives, or fire, shall be fined under
       this title or imprisoned not more than ten years, or both; and if death results from
       the acts committed in violation of this section or if such acts include kidnapping
       or an attempt to kidnap, aggravated sexual abuse, or an attempt to commit
       aggravated sexual abuse, or an attempt to kill, shall be fined under this title, or
       imprisoned for any term of years or for life, or both, or may be sentenced to death.
56. The Plaintiff has a cause of action for violation of her constitutional federally
       protected rights in the constitution under the Civil Rights Act, 42 U.S.C. § 1983.
       The Plaintiff and her child were restrained in her liberty and property interest by
       the Defendants actions. The Defendants acted under the color of state law to
       deprive the Plaintiff of her federally protected civil rights.




13
     https://www.justice.gov/crt/deprivation-rights-under-color-law

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                          X. SIXTH CLAIM FOR RELIEF
               18 U.S. CODE § 24114 - CONSPIRACY AGAINST RIGHTS15

57. Plaintiff re-alleges and re-pleads all of the allegations in paragraphs 1–56 of this
     Complaint and incorporate them by reference.
58. The Defendants perform the public functions of serving as court officials, and
     serving children who are dependents of the courts of the State of Washington.
59. The Defendants perform these public functions using federal, state, and county
     funds, also from federal grants.
60. An agreement was made, there was a jointly accepted plan, the Defendants and
     social workers knew each other, the conspirator knew the plan’s essential nature
     and general scope. The Defendants knew the exact details of the plan or the identity
     of all the participants in it. One may become a member of a conspiracy without full
     knowledge of all the details of the conspiracy.
61. The Defendants worked with Child Protective Services together conspired to
     injure, oppress, threaten, and intimidate the Plaintiff and her minor child in
     Washington State, in the free exercise and enjoyment of the Plaintiffs parental
     rights and privileges secured to her by the Constitution and laws of the United
     States, and because of the Plaintiff having so exercised the same; the Defendants
     employees and representatives went in disguise on the highway, and on the
     premises of the Plaintiff, with the intent to prevent and hinder her free exercise or
     enjoyment of her and her child’s rights or privileges so secured. These actions were
     completed lacking any form of probable cause.
62. The Plaintiff has a cause of action under title (18) XXXII, §§ 320103(b) 320201(b), title
     XXXIII, § 330016(1)(H), deprivation of rights under the color of law. In so that the



14
   Section 241 of Title 18 is the civil rights conspiracy statute. Section 241 makes it unlawful for two or more
persons to agree together to injure, threaten, or intimidate a person in any state, territory or district in the free
exercise or enjoyment of any right or privilege secured to him/her by the Constitution or the laws of the Unites
States, (or because of his/her having exercised the same). Unlike most conspiracy statutes, Section 241 does not
require that one of the conspirators commit an overt act prior to the conspiracy becoming a crime.
15
   This statute makes it unlawful for two or more persons to conspire to injure, oppress, threaten, or intimidate any
person of any state, territory or district in the free exercise or enjoyment of any right or privilege secured to him/her
by the Constitution or the laws of the United States.

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     Defendants worked with the Child Protection Agency by their actions and
     omissions
63. The Defendants along with social workers engaged in at least one act in
     furtherance of the conspiracy. All of the Defendants did conspire to deprive the
     Plaintiff of her civil rights,
                          XI. SEVENTH CLAIM FOR RELIEF-
                    42 U.S. CODE § 1986 ACTION FOR NEGLECT TO PREVENT16

64. Plaintiff re-alleges and re-pleads all of the allegations in paragraphs 1–63 of this
     Complaint and incorporate them by reference.
65. The Defendants perform the public functions of serving as court officials, and
     serving children who are dependents of the courts of the State of Washington.
66. The Defendants perform these public functions using federal, state, and county
     funds, also from federal grants. The social workers are also paid with federal funds
     from the government in title funding and adoption bonuses.
67. The Defendants employees, having knowledge that any of the wrongs conspired
     to be done by Child Protective Services, and mentioned in Section 1985 of this
     title, are about to be committed, and having power to prevent or aid in preventing
     the commission of the same, neglects or refuses so to do, if such wrongful act be
     committed, shall be liable to the Plaintiff for her injuries, and their attorneys fees,
     for all damages caused by such wrongful act, the wrongful act be an unlawful
     removal of the Plaintiffs child during emergency order 6 and using forgery, The
     Defendants and its employees by reasonable diligence could have prevented by
     not accepting a forged document and filing it as true and correct; damages may be


16
  Every person who, having knowledge that any of the wrongs conspired to be done, and mentioned in Section 1985
of this title, are about to be committed, and having power to prevent or aid in preventing the commission of the
same, neglects or refuses so to do, if such wrongful act be committed, shall be liable to the party injured, or his legal
representatives, for all damages caused by such wrongful act, which such person by reasonable diligence could have
prevented; and such damages may be recovered in an action on the case; and any number of persons guilty of such
wrongful neglect or refusal may be joined as Defendants in the action; and if the death of any party be caused by any
such wrongful act and neglect, the legal representatives of the deceased shall have such action therefor, and may
recover not exceeding $5,000 damages therein, for the benefit of the widow of the deceased, if there be one, and if
there be no widow, then for the benefit of the next of kin of the deceased. But no action under the provisions of this
Section shall be sustained which is not commenced within one year after the cause of action has accrued.


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   recovered in an action on the case; and any number of persons guilty of such
   wrongful neglect or refusal may be joined as Defendants in the action.




                                   XII.    INJURIES
68. The Defendants actions account for repeat constitutional civil rights violations
   and injuries beginning in 2009-2021. The 2020 removal of the Plaintiffs child in and
   of itself, caused trauma and permanent damage to the Plaintiff also to her child.
   As a direct and proximate result of the Defendant’s civil rights violations, under
   the Due Process Clause, First, Fourth, Fourteenth Amendments of the US
   constitution, made by them at all times relevant to this complaint towards the
   Plaintiff and her children, she was injured emotionally, mentally, financially, &
   permanently.
69. The Plaintiff has endured and will continue to endure these injuries, which have
   caused and will continue to cause: past, present and ongoing costs, taking up
   time in her life, the Defendants acted in support of racial discrimination towards
   the Plaintiff and the Plaintiff made the Defendants aware of these acts being racial
   discrimination, the Defendants ignored the Plaintiff these injuries have also
   caused damage to the Plaintiff mentally resulting in confusion, depression,
   rejection, mental anguish, severe emotional distress, suicidal ideation, fright,
   anxiety, sadness, loss of life due to a loss of time wasted trying for no reason,
   severe trauma, mental health costs, new mental health diagnosis, new medication
   management, paranoia, heart problems, high blood pressure, guilt, shame, the
   Defendants assisted social workers who have ignored, belittled, blamed, hated,
   accused, disrespected, put down, criticized, made fun of, exposed, criminalized,
   the Plaintiff at all times relevant to this complaint. This is not the first time her
   rights have been violated by a state agency or an agency contracted with the state.
70. The Plaintiff, MYRIAM ZAYAS must continue therapy for stress induced by
   these events which were a choice made by the Defendant’s, each of them, that




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   went above the bounds of their lawful authority, all Defendant’s acted with
   deliberate indifference and malice.
71. The Plaintiff suffered and continues to suffer from physical pain related to
   depression, post-traumatic stress disorder, hair loss, weight loss, vision loss,
   community trust lost, lost birthdays, holidays, broken family bonds with relatives.
   Past, present, and ongoing legal costs, and attorneys’ fees. Lost trust from her
   neighbors and friends. The Defendant’s actions have abridged the Plaintiffs 18
   years she has to raise her children without being interrupted for reasons that do
   not include child abuse.




                               XIII.    PRAYER FOR RELIEF
WHEREFORE, Plaintiff MYRIAM ZAYAS does not pray, but does request judgement
in her favor:
72. Terminate the Defendants, each of them from their official position. The public is at risk,
   their children are at risk of being unlawfully separated, and ultimately abused, because of
   their guilt from felonies committed by them.




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                              CERTIFICATION AND CLOSING
Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best.
of my knowledge, information, and belief that this complaint: (1) is not being.
presented for an improper purpose, such as to harass, cause unnecessary delay,
or needlessly increase the cost of litigation; (2) is supported by existing law or by
a nonfrivolous argument for extending, modifying, or reversing existing law; (3)
the factual contentions have evidentiary support or, if specifically, so identified,
will likely have evidentiary support after a reasonable opportunity for further.
investigation or discovery; and (4) the complaint otherwise complies with the
requirements of Rule 11.




                                                     Respectfully submitted,


  Dated:    06.05.2021
                                           Name:
                                             Title: Pro Se Plaintiff
                                  amiya.angel@hotmail.com




                                CERTIFICATE OF SERVICE


       I, MYRIAM ZAYAS, do hereby certify that I have this day mailed, U.S. Mail Certified,
postage prepaid, a true and correct copy of the above and foregoing to at the following
address also send an email to the email listed:
       THIS the 6th day of June 2021.

                                                                       Type text here
                                     Sign:           _________________________________

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